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          Exhibit B
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Via First Class US Mail and
Certified Mail/Return Receipt Requested
                                                                                                                       Sonila Themeli
To: CFX Sponsor                                                                                                            Senior Counsel
     1900 5th Ave.
                                                                       JPMorgan Chase Tower
     Houston, TX 12345
                                                                     600 Travis St., Suite 3400
Email:                                                                  Houston, Texas 77002
                                                                               t 713.227.8008
                                                                               d 713.546.5656
       RE:      Securities and Exchange Commission v. Mauricio Chavez,          f 713.227.9508
                Giorgio Benvenuto, CryptoFX, LLC, and CBT Group, LLC,      sthemeli@shb.com
                CaseNo. 4:22-CV-03359, United States District Court for the
                Southern District of Texas, Houston Division

Dear Mr. xxxxx:

       This firm represents John Lewis, Jr., who has been appointed by the
United States District Court for the Southern District of Texas, Houston
Division as the Receiver for Mauricio Chavez and Giorgio Benvenuto,
individually, and for CryptoFX, LLC, and CBT Group, LLC (collectively
“Defendants”). Enclosed please see a copy of the Order Appointing Receiver
(“Receivership Order”).

        The “Receivership Estate” includes all of the Defendants’ assets. Mr.
Lewis was appointed to serve in such a capacity pending further order by the
Honorable Judge Andrew Hanen, United States District Judge, in the above-
referenced action commenced by the Securities and Exchange Commission
against Mauricio Chavez and Giorgio Benvenuto, individually, and CryptoFX,
LLC, and CBT Group, LLC.

        Pursuant to the Receivership Order, all assets of the Receivership Estate
are frozen, with the Receiver being the only party authorized to administer those
assets. Moreover, the Receivership Order grants the Receiver various powers,
including, but not limited to, the authority to take control of any assets in the
possession of or in the direct and indirect control of the Receivership
Defendants.

         Furthermore, Paragraph 7 (I) of the Receivership Order provides the
Receiver authority: “To bring such legal actions based on law or equity in any
state, federal, or foreign court as the Receiver deems necessary or appropriate
in discharging his duties as Receiver.”


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       The Receiver filed his First Interim Report on November 28, 2022 and
a copy of that report and all Exhibits is included on the Receiver’s Website at
www.cryptofxreceiver.com. The report is available in English and in Spanish.
Also available on the web site is a link to all documents filed with the United                                              January 31, 2023
States District Court in this case. I encourage you to review these documents.                                                         Page 2


        The Receiver stated in the First Interim Report: “In Receiver’s view,
there appears to be no meaningful lawful or legitimate business conducted by
Defendants herein, either before this action commenced or during the pendency
of this Receivership. Defendants’ activities and operations bear the indicia of a
Ponzi scheme, whereby ‘investors’/victims, many of whom are fearful of
coming forward due to concerns regarding their immigration status, were lured
to invest in crypto currency and to participate in crypto ‘academies.’ Many
have reported promises of outsized investment returns and incentives for
recruiting other ‘investors.’ This apparent fraud continues unabated.”

        Based on the Receivership Order, the Receiver is entitled to an
accounting from each marketing or sales person, who are commonly referred to
as a “Sponsor” or “Leaders” in CryptoFX records. Additionally, the Receiver
may pursue recovery of these payments since the investment program was
fraudulent and all commissions and bonuses paid to “Sponsors” and “Leaders”
were from a fraudulent investment offering. As noted in the Receiver’s First
Interim Report, there was only minimal trading of cryptocurrency, and
essentially all commissions, sponsor payments, and profits paid to investors
were derived from new investors’ funds.

        Accordingly, the Receiver avers the commissions and bonuses paid to
all sales agents/sponsors/leaders were unlawfully obtained from investors by
means of artifice and fraud. The Receiver currently understands that CryptoFX
paid commissions of 7% for first or primary Sponsor and 3% for second
Sponsor, which was paid upon an investment. Further, additional bonuses were
paid to “Sponsors” or “Leaders” under various programs, including programs
such as Elite Bonus and Double Bonus (“Elite Bono” and “Doble Bono”). The
Receiver continues to investigate all payments to “Sponsors” or “Leaders” by
cash, check or cryptocurrency.

       While the Receiver’s investigation is on-going, the Receiver demands
that you:

       (1) provide an accounting of all commissions and bonuses paid to
you by CryptoFX as a sales agent, sponsor or “Leader”;


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        (2) provide a completed W-9 form so the Receiver can report to the
Internal Revenue Service all commissions and bonuses paid by CryptoFX
to you;
                                                                                                                             January 31, 2023
       (3) turn over to the Receiver all commissions and bonuses paid                                                                  Page 3
to you by CryptoFX;

      (4) provide an accounting of all profits or returns made by you
on any investments or contract you had with CryptoFX; and;

      (5) turn over to the Receiver all CryptoFX records or documents,
whether in paper or electronic form, in your possession and/or control.

        The Receiver is preparing an analysis of how much money was actually
paid to each Sponsor or Leader. Based upon the records currently available to
him, the Receiver does not have complete information. Accordingly, the
Receiver requires this information from you before reporting to the IRS. It is
therefore important that you provide accurate information on the amounts paid
to you. Please provide me with your accounting, a completed W-9 form,
and the return of all commissions and bonuses by January 30, 2023.

        Please note that Paragraph 29 of the Receivership Order provides that:
“The Receiver shall promptly notify the Court and SEC counsel of any failure
or apparent failure of any person or entity to comply in any way with the terms
of this Order.” Accordingly, please respond by January 30, 2023 from the
date of this letter to avoid the Receiver reporting to the Court your non-
compliance with the Order. You can contact me at the email address listed
above and/or by US Postal service.

        The Receivership Order also provides that any person, who receives
notice of the Receivership Order is restrained and enjoined from: (1) interfering
directly or indirectly with the Receiver’s efforts to take control, possession, or
management of any Receivership Property; (2) hindering, obstructing or
otherwise interfering with the Receiver in the performance of his duties; (3) and
dissipating or otherwise diminishing the value of any Receivership Property.
See Receivership Order at 11, Section VII, ¶ 27.

        The Receiver does not waive any additional claims against you, and as
his investigation continues, the Receiver may demand the return of any profits
earned from the fraudulent investment offering. After completing his analysis,
the Receiver may seek to have these funds returned as well.


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         If you have questions or believe that you have information that would
facilitate the Receiver’s performance of his duties under the Order, please
contact me at the number or email indicated above.
                                                                                                                               January 31, 2023
       Thank you for your assistance and cooperation in this matter.                                                                     Page 4


Sincerely,

Sonila Themeli
Counsel for Receiver John Lewis, Jr.

Enclosures




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